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22-3042-cv(L), 22-3050-cv(to
                         CON)
        United States Court of Appeals
                For the Second Circuit

                     VIRGINIA GIUFFRE,
                                    Plaintiff-Appellee,

                              v.

           SHARON CHURCHER, JEFFREY EPSTEIN,
                                 Respondents,
                         v.

                   GHISLAINE MAXWELL,
                                  Defendant,
                            v.

                JOHN DOE 107, JOHN DOE 171,
                                   Objectors-Appellants,

                              v.

      JULIE BROWN, MIAMI HERALD MEDIA COMPANY,
                               Intervenors-Appellees.


ON APPEAL FROM THE UNITED STATES DISTRICT COURT
    FOR THE SOUTHERN DISTRICT OF NEW YORK

            REDACTED REPLY BRIEF FOR
           OBJECTOR-APPELLANT DOE 107

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                REPLY BRIEF ON BEHALF OF APPELLANT
                              DOE 107

      This brief is submitted on behalf of Objector-Appellant Doe 107 in reply to

the briefs on appeal filed on behalf of Plaintiff-Appellee Virginia Giuffre and

Interveners-Appellees Julia Brown and Miami Herald Media Company. See Doc.

128, Giuffre Brief; Doc. 130, Miami Herald Brief.1 None of the Appellees directly

address the principal arguments we make in support of our request that the

documents identifying Doe 107 remain sealed or, if unsealed, omit her name.

      A. The documents in question enjoy, at most, a low presumption in
         favor of public access.

      In our initial brief, we demonstrate that the documents in question, catalogued

at pp. 5-6, were attached to discovery motions – not to a dispositive motion such as

motion for summary judgment – and that the portions of those documents identifying

Doe 107 were of little or no relevance to those motions. See Doe 107’s Initial Brief

(Doc. 113) at 13-15. As this Court explained in Brown v. Maxwell:

      Thus, while evidence introduced at trial or in connection with summary
      judgment enjoys a strong presumption of public access, documents that “play
      only a negligible role in the performance of Article III duties” are accorded
      only a low presumption that “amounts to little more than a prediction of public
      access absent a countervailing reason.”

Brown v. Maxwell, 929 F.3d 41, 49–50 (2d Cir. 2019) (footnotes omitted).




1
      Unless otherwise noted, references to “Doc.” are to this case, 22-3042.

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       Appellees do not specifically address these arguments and Doe 107's analysis

therefore remains unchallenged. At most, then, these documents enjoy only a low

presumption in favor of public access, i.e., a presumption that "amounts to little more

than a prediction of public access absent a countervailing reason." Id.

       B. The district court clearly erred when it found that Doe 107 presented
          only "generalized concerns of adverse publicity."

       The district court rejected Doe 107's opposition to unsealing because it found

that she had presented only "generalized concerns of adverse publicity" and that "the

information contained in these excerpts is not particularly salacious ... " A.146. This

finding was clearly erroneous. In particular, in addition to observing the salacious -

and, we assert, false - nature of certain of the documents in question, which allege,

inter alia, Doe 107



                   Doe 107 also asserted that disclosure of her identity could put her

physical welfare in danger because she lives overseas in a culture in which honor

killings present a "real risk":




Additionally, she said, she already has



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She concluded:




A.155-56.

      Certainly, Doe 107's proffer went far beyond the general, descending to

particulars that plausibly supported her belief that her physical well-being would be

at risk were her identity revealed. Neither the Appellees below, nor the district court

challenged these very specific assertions, which therefore remain unrebutted.

      C. Doe 107's unchallenged concerns outweigh the public's interest in
         learning her identity.

      Against the - at most - "low" presumption of public access afforded the

documents in question, and the even lower presumption of public access afforded to

Doe 107's identity, lies the weighty concerns Doe 107 proffered to the district court,

excerpted above. Appellees spend most of the argument portion of their briefs

claiming that Doe 107's co-appellant Doe 171 has failed to demonstrate that the



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district court abused its discretion in ordering unsealing and offer only brief

discussion of Doe 107’s arguments. In fact, neither of Appellees’ briefs so much as

mentions Doe 107’s specific concerns quoted above, a failure pregnant with the

admission that those concerns are valid and weighty. Instead, they fall back on the

district court’s decision, which found that Doe 107’s “generalized concerns of

adverse publicity” did not outweigh the presumption of public access,” a conclusion

that – like Appellees’ briefs – simply ignores the very specific concerns expressed

by Doe 107. See Doc. 128, Giuffre Br. at 13 (“Doe 107’s current argument is

essentially that the District Court somehow did not adequately appreciate the

countervailing interests Doe 107 presented.”); Doc. 130, Miami Herald Br. at 11

(“Doe 107 fails to assert anything other than generalized concerns of adverse

publicity, and such generalized concerns do not outweigh the presumption of public

access.”).2

      Nor does either brief address Doe 107’s suggestion that, if this Court were to

find there exists a public right of access to the documents in question it should release

those documents with Doe 107’s identity redacted. See Doc. 113, Doe 107’s Initial


2
       The Miami Herald asserts that “Now, for the first time, Doe 107 asserts that
the materials should be sealed because any association with this matter would place
her in danger in her culturally conservative home-country. Because Doe 107 did not
make this argument below, she cannot make it now, for the first time, on appeal.”
Doc. 130, Miami Herald Br. at 17-18. Of course, this is not accurate, as the same
arguments regarding the physical danger posed by Doe 107’s culturally conservative
home environment were made to the district court. See A.155-56.

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Brief at 18 (“We say, let The Miami Herald publish their salacious so-called ‘facts’

if they wish, but they should not be permitted to put a face and a name to them.”).3

      For all these reasons, this Court should find that the district court’s factual

findings were clearly erroneous and that it abused its discretion when it ordered the

subject documents to be unsealed.

                                     Conclusion

      For all the foregoing reasons, the Order of the district court should be reversed

and the Court should either leave the subject documents sealed, or grant Doe 107’s

“narrowly tailored” (Brown v. Maxwell, 929 F.3d at 47) request that her name and

address4 be redacted from any documents that are unsealed.

Dated: May 2, 2023

                                        Respectfully submitted,



                                        ___________________________
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                                        Levitt & Kaizer
                                        Attorneys for Objector-Appellant
                                        John Doe 107

3
       Not irrelevant is that Ms. Giuffre’s strident, personal, and harmful accusations
against Professor Alan Dershowitz ended with her public statement acknowledging,
“I now recognize I may have made a mistake in identifying Mr. Dershowitz.”
https://www.nytimes.com/2022/11/08/nyregion/epstein-victim-giuffre-
dershowitz.html
4
       Intervenor-Appellee Miami Herald correctly observes (at p. 17 of its brief)
that the district court has ordered that Doe 107’s address be redacted from document
423-4. See Doe 107’s Appendix at A.144.

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                             Certificate of Compliance

      I certify pursuant to FRAP 32 and Local Rule 32.1 (a)(4)(A) that that the
foregoing reply brief was prepared on a computer using Microsoft Word. The
proportionally spaced typeface, font size and spacing used was the following:

      Name of Typeface: Times New Roman
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      The total number of words in the brief, based upon Microsoft word count,
exclusive of the cover, table of contents, table of authorities, and signature is 1,241.

Dated:       May 2, 2023




                                               Zachary Segal




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